Case 23-34815 Document 892-15 Filed in TXSB on 12/10/24 Page 1 of 5




                        EXHIBIT 15
       Case
        Case23-34815
             23-34815 Document
                       Document892-15
                                870 Filed
                                      FiledininTXSB
                                                TXSBonon12/06/24
                                                         12/10/24 Page
                                                                   Page1 2ofof4 5
                                                                                                      United States Bankruptcy Court
                                                                                                           Southern District of Texas

                                                                                                              ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                            December 06, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                                      §
                                                            §         CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                   §
                                                            §
          Debtor.                                           §
                                                            §
                                                            §         CHAPTER 11

                                         MEMORANDUM OPINION

Before the Court are two emergency motions: NBK's (Renewed) Emergency Motion to Enforce
Sale Order against Jetall Companies, Inc. and NBK's Second Emergency Motion to Enforce Sale
Order (ECF Nos. 838 and 839) filed by the National Bank of Kuwait, S. A. K. P., New York
Branch (“NBK”) and responses in opposition (ECF Nos. 842 and 848)1 filed by Jetall Companies,
Inc.2 (“Jetall”) and 2425 WL, LLC (“WL”). Hearing was held on December 5, 2024. For the
reasons so stated the Court grants both motions by separate orders.

                                      PROCEDURAL BACKGROUND

The two motions filed by NBK both seek to enforce a Sale Order. On December 5, 2023, Galleria
2425 Owner, LLC (the “Debtor”) filed a voluntary petition for relief under Chapter 11 of the
Bankruptcy Code. On January 31, 2024, the Court entered an order directing the appointment of a
Chapter 11 Trustee to manage the estate.3 On February 9, 2024, the Court entered an order
appointing a Chapter 11 Trustee.4 The case is a single asset real estate case within the meaning of
the relevant provisions of the Bankruptcy Code. The Debtor’s sole asset was real property located
at 2425 West Loop South, Houston, Texas 77027 (the “Property”). Jetall was a tenant of the real
property at filing. On May 23, 2018, NBK loaned the Debtor $51,675,000 (the “Loan”) to acquire
the Property from WL. WL has made claims that it holds a lien5 against the subject property. The
Debtor at case filing, Jetall and WL are all controlled by Ali Choudhri.

On July 8, 2024, the Court entered its Order (A) Approving Asset Purchase Agreement Between
the Trustee and QB Loop Property LP; (B) Approving the Sale of the Property Free and Clear of
all Liens, Claims, Encumbrances, and Other Interests; (C) Approving Assumption and Assignment

1
  The response at ECF 841 was struck from the docket (ECF No. 845).
2
  ECF No. 842 indicates that the objection was filed by Galleria 2425 Owner, LLC. This is not the case and counsel
does not represent the reorganized debtor.
3
  ECF No. 99
4
  ECF Nos. 116
5
  WL is the asserted holder of certain alleged beneficiary rights under that certain Deed of Trust, recorded as Instrument
No. RP-2021-258619 in the Official Public Records of Harris County, Texas [Docket No. 692-3] (the “Lien”), with
respect to certain real property located at 2425 West Loop South, Houston, Texas (the “Property”). The Court has
previously found this Deed of Trust to be fraudulent in its Order Disallowing Proof of Claim and Referral to United
States Attorney [ECF No. 717].
1/4
       Case
        Case23-34815
             23-34815 Document
                       Document892-15
                                870 Filed
                                      FiledininTXSB
                                                TXSBonon12/06/24
                                                         12/10/24 Page
                                                                   Page2 3ofof4 5




of Executory Contracts and Leases; (D) Determining the amounts necessary to cure such
Executory Contracts, and Unexpired Leases; and (E) Granting Related Relief (the “Sale Order”)6,
approving the Asset Purchase Agreement submitted by QB Loop and the Stalking Horse
Agreement submitted by NBK for a sale of the Property “free and clear of and all interests,
including all liens, claims and encumbrances.” The Sale Order further required “[a]ll persons that
are in possession of some or all of the Purchased Assets as of or after the Closing are hereby
directed to surrender possession of such Purchased Assets to the Buyer as of the Closing or at such
time thereafter as the Buyer may request.” Additionally, the Sale Order authorized the sale of the
Property “free and clear of all liens, claims, encumbrances, and other interests.”

On June 21, 2024, the Chapter 11 Trustee filed a Notice of Successful Bidder, Backup Bidder, and
Sale Hearing,7 which designated QB Loop Property LP (“QB Loop”), an entity affiliated with Mr.
Choudhri, as the successful bidder for the Property and further designated NBK as the “Backup
Bidder.”

QB Loop failed to close on its purchase of the Property, and on August 9, 2024, the Chapter 11
Trustee filed a Notice of Failure to Close Under Successful Bid8. As a result, the rights to purchase
the Property went to NBK as the Backup Bidder pursuant to the terms of its Stalking Horse
Agreement, with only a change in purchase price. On or about August 20, 2024, the Chapter 11
Trustee in this case sold the Property to Houston 2425 Galleria, LLC, as designee and assignee of
National Bank of Kuwait, S.A.K.P., for $27 million.”9

Ali Choudhri is the President of Jetall. Jetall occupies and refuses to vacate suite 1100 (11th floor)
of the office building located at 2425 West Loop South, Houston, Texas. The Court additionally
notes that a Chapter 11 plan has been confirmed in this case.

NBK seeks relief requiring Jetall to vacate the premises immediately, confirming that Jetall has no
right of occupancy or claim based upon its alleged lease with the Debtor. NBK also seeks lien
releases as NBK seeks to enforce the Sale Order’s provisions that the sale is “free and clear of all
liens, claims, encumbrances, and other interests.”

Hearing was set at 9:00 a.m. on December 5, 2024. Less than 12 hours prior to the hearing at 9:12
p.m. an Involuntary Chapter 11 case was filed against Jetall in the Western District of Texas by
EAO Global LLC dba PopLabs.10 This Court given the history of this case and the intertwined
connections between Jetall, WL, and the reorganized debtor and what the Court has held to be
vexatious litigation by Mr. Choudhri and his related entities conferred with the Bankruptcy Judges
of the Western District of Texas and requested that the Jetall bankruptcy case be transferred to the
Southern District of Texas and specifically to this Court. That transfer was approved. The case
assignment to this Court was thereafter consented to by all Bankruptcy Judges in the Southern
District of Texas.11

6
  ECF No. 608
7
  ECF No. 561
8
  ECF No. 658
9
  ECF No. 675
10
   In re Jetall Companies, Inc., Case No. 24-11544 in the Western District of Texas, Austin Division.
11
   Transferred case are typically randomly assigned to Bankruptcy Judges in the Southern District of Texas.
2/4
       Case
        Case23-34815
             23-34815 Document
                       Document892-15
                                870 Filed
                                      FiledininTXSB
                                                TXSBonon12/06/24
                                                         12/10/24 Page
                                                                   Page3 4ofof4 5




                                                    FINDINGS

The first written objection12 of Jetall to NBK’s requested relief contains multiple parts, the first is
the Court lacks jurisdiction to grant the relief requested. The Court rejects this argument. Jetall
filed three proofs of claims on April 9, 2024, all are listed on the claims register as Jetall
Companies, Inc. Thus, Jetall has subjected itself to jurisdiction. Irrespective of the filed proofs of
claim, two of which actually appear to be filed by Jetall Capital, LLC, the Court finds it has
nationwide jurisdiction to enforce the Sale Order against both Jetall and WL.

The second part is that the matter before the Court is not an emergency, and that emergency relief
is not required. Again, the Court rejects this argument. One must only review the docket in this
case to determine that delay in enforcement of the Sale Order has been ongoing and in any event
this Court has the exclusive right to maintain its docket and to set emergency hearings.

The last part is colorable as to both what Jetall claims to be the lack of necessity for emergency
relief but also that the Justice of the Peace Court, which in Texas has exclusive jurisdiction for
forceable entry and detainer actions, i.e. an eviction, is the proper court for NBK to achieve one of
its desired goals which is to evict Jetall from the premises. This Court holds that it has jurisdiction
to enforce its Sale Order, irrespective of the grant of exclusive jurisdiction to the Justice of the
Peace Court for evictions in the State of Texas. Additionally, any order it issues hereafter
regarding possession, given the terms of the Sale Order is simply enforcement of the Sale Order.
Still further that NBK is not required, nor is it desirable especially in this complicated bankruptcy
case for NBK to have to seek enforcement of a Bankruptcy Court order from a lower-level State
Court, which as this Court is aware often is unknowledgeable about the intricacies of bankruptcy
law, and which already dismissed a forcible entry and detainer action brought by Houston 2425
Galleria, LLC against Jetall due to lack of jurisdiction.13

The second written objection14 of both Jetall and WL renews the objections contained in the first
objection but raises additional issues which the Court now addresses. First, is the disqualification
of NBK’s counsel. As the Court stated on the record at the hearing the moving parties may move
for that relief but have not done so during the year this case has been pending. Second, the response
indicates that the relief sought by NBK is blocked by the automatic stay of another pending
bankruptcy, the filing of Texas REIT, LLC.15 Absent an order extending the stay in the Texas
REIT, LLC to this case this Court holds that the automatic stay in that case does not apply to this
case. Lastly, if the Involuntary Jetall bankruptcy case 16 limits this Court’s ability to grant the
relief requested by NBK, it will as the Judge on the Jetall involuntary case retroactively lift the
automatic stay for cause, as to this case, based on the findings in this order.
12
   ECF No. 842
13
   ECF No. 846-8, which is a form check mark order.
14
   ECF No. 848
15
   Case No. 24-10120, Western District of Texas, Austin Division. The Property is not listed as an asset of the debtor
in the Texas REIT case, see ECF No. 168, Amended Schedules and Summary.
16
   The Court believes that the involuntary filing is for many reasons suspect and ultimately will be dismissed. First, it
was filed less than 12 hours prior to the scheduled hearing after 9:00 p.m. at night. Second, it contains only one
petitioning creditor, when the Court believes three would be required and there is a “good faith” filing requirement in
an involuntary case which appears to be absent. 11 USC § 303.
3/4
      Case
       Case23-34815
            23-34815 Document
                      Document892-15
                               870 Filed
                                     FiledininTXSB
                                               TXSBonon12/06/24
                                                        12/10/24 Page
                                                                  Page4 5ofof4 5




                                           HOLDING

For these reasons the relief requested by NBK is in all things granted, the objections of Jetall and
WL are in all things denied, and the Court will sign the proposed orders filed by NBK.

        SIGNED 12/06/2024


                                                    ___________________________________
                                                    Jeffrey Norman
                                                    United States Bankruptcy Judge




4/4
